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8                         IN THE UNITED STATES DISTRICT COURT

9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,               ) 2:11-CR-00226-TLN
                                             )
12               Plaintiff,                  )
                                             ) STIPULATION AND ORDER
13         v.                                ) RE: DEPOSITION
                                             )
14   PATRICIA JANE ALBRIGHT, and             ) Date: May 15, 2014
     JORDAN ROBERT WIRTZ,                    ) Time: 9:00 a.m.
15                                           ) Judge: Hon. Troy L. Nunley
                 Defendants.                 )
16                                           )
                                             )
17

18                                      STIPULATION

19         The United States, by and through its undersigned counsel, and

20   the defendants, by and through their counsel of record, hereby

21   stipulate as follows:

22      1. This matter is set for Jury Trial beginning July 28, 2014.

23      2. At trial, the United States intends to call Leslie Rivera.            Ms.

24         Rivera is a former employee at CVS who processed several

25         photographs for defendant Albright.        Ms. Rivera is expected to

26         testify regarding (1) the policies and procedures of the CVS

27         photo lab, (2) the operation of the photo processing equipment

28         at CVS, and (3) the authenticity of several photographs that the

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30   Stipulation RE: Deposition               1              United States v. Albright
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1          United States intends to offer into evidence.          Ms. Rivera is

2          currently pregnant with an expected due date of August 21, 2014.

3          Ms. Rivera lives in Southern California.         Requiring Ms. Rivera

4          to travel to Sacramento to testify during the scheduled trial

5          dates presents an undue hardship and significant medical risk to

6          Ms. Rivera.

7       3. All parties are available and have agreed to conduct a

8          deposition on May 15, 2014, at 9:00 a.m.

9       4. Defendant Wirtz is currently in custody.         The United States will

10         make arrangements to have defendant Wirtz brought to the

11         courthouse so that he may participate in the deposition.

12      5. Pursuant to Rule 15(h) of the Federal Rules of Criminal

13         Procedure, the “parties may by agreement take and use a

14         deposition with the court’s consent.”

15      6. By this Stipulation, the parties request that the Court consent

16         to the parties planned deposition of Ms. Rivera on May 15, 2014,

17         at 9:00 a.m. to be taken at the ROBERT T. MATSUI FEDERAL

18         COURTHOUSE, 501 I Street, Sacramento, CA 95814.

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30   Stipulation RE: Deposition               2              United States v. Albright
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1       7. The parties have agreed to take the deposition.              The parties

2          have not, however, agreed that the deposition will be admissible

3          at the July 2014 trial.      Pursuant to Rule 15(f), “[a]n order

4          authorizing a deposition to be taken under this rule does not

5          determine its admissibility.      A party may use all or part of a

6          deposition as provided by the Federal Rules of Evidence.”

7    IT IS SO STIPULATED.

8    DATED: May 10, 2014                  /s/ Justin L. Lee   _
                                        JUSTIN L. LEE
9                                       Assistant U.S. Attorney
10   DATED: May 10, 2014                  /s/ Scott Cameron
                                        SCOTT CAMERON
11                                      Attorney for Jordan Wirtz
12
     DATED: May 10, 2014                  /s/ Kelly Babineau
13                                      KELLY BABINEAU
                                        Attorney for Patricia Albright
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16

17                                         ORDER

18         The parties are hereby authorized to take the deposition of

19   witness Leslie Rivera on May 15, 2014, at 9:00 a.m.              This

20   authorization does not determine the admissibility of all or parts of

21   the deposition.

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23         IT IS SO FOUND AND ORDERED, this 14th day of May, 2014.

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27                                                Troy L. Nunley
28                                                United States District Judge

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30   Stipulation RE: Deposition               3                United States v. Albright
